                           Case 1:22-mj-00059-RMM Document 5 Filed 03/18/22 Page 1 of 1


AD    442 (Rev. 11/11) Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                            for the

                                                                 District of Columbia

                        United States of America                                         Case: 1:22-mj-00059
                                   v.                                           )        Assigned To: Meriweather, Robin M.
                   JORDAN BONENBERGER                                           )        Assign. Date: 3111/2022
                                                                                )
                                                                                )
                                                                                         Description: Complaint with Arrest Warrants
                                                                                )
                                                                                )
                                 Defendant


                                                             ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) JORDAN BONENBERGER
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o    Superseding Indictment           o Information             o   Superseding Information            N Complaint
o     Probation Violation Petition             o   Supervised Release Violation Petition               o Violation      Notice      0 Order of the Court

This offense is briefly described as follows:

18 U.S.C.       § 1752(a)(l) - Entering and Remaining in a Restricted Building or Grounds;
18 U.S.C.       § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C.       § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
40 U.S.C.       § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                                                                        2022.03.14
                                                                                                 P ~.qw~                14:29:09 -04'00'
Date:              03/14/2022
                                                                                                      Issuing officer's signature


City and state:                         Washin on D.C.                                 Robin M Meriweather,            US. Magistrate Judge
                                                                                                          Printed name and title


                                                                           Return

            This warrant was received on       (date)   03   ;!L{/.2t>::l;2.,        , and the person was arrested on     (date) 0'3   It 8 1.2   0 ~   ::2.
at   (city and state)     PtIIs b "'7j b, P.4-

Date: o311~ /.2022._


                                                                                    H~e..'-<J L._}:)",,,!.u vV S;>-e_c;c •./ AJ~-
                                                                                                                   I                              'FB I
                                                                                                          Printdd name and title
